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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                 §
 CONTEGO SPA DESIGNS, INC.,
                                                 §
                 Plaintiff,                      §
 v.                                              §
                                                 §     Civil Action No. 4:24-cv-522
                                                 §
 MALIBU NAIL LOUNGE, an entity of                §
 unknown type, and DOES 1-10                     §     DEMAND FOR JURY TRIAL
                                                 §
                                                 §
                 Defendants                      §
                                                 §
                                                 §
                                                 §
                                                 §

        PLAINTIFF CONTEGO SPA DESIGNS, INC.’S ORIGINAL COMPLAINT

        Plaintiff Contego Spa Designs, Inc. (hereafter “Plaintiff”), for its Complaint against

Defendant Malibu Nail Lounge, an entity of unknown type doing business as “Malibu Nail

Lounge” (hereafter “Malibu”), and Does 1-10, individuals and/or entities of unknown types

alleges as set forth herein.

                                 JURISDICTION AND VENUE

        1.      This action arises under the United States patent laws (Title 35 of the United

States Code) for the infringement of United States Patent No. 9,289,353 (hereafter "the ‘353

Patent”). This Court has original jurisdiction over all Causes of Action herein pursuant to

28 U.S.C. §§ 1331 and 1338.

        2.      The Court has Personal Jurisdiction over each Defendant because each Defendant

has directly or through intermediaries, conducted business in this State and District, as further

alleged herein and in association with alleged infringing activity, and, otherwise, purposefully
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availed itself of the benefits of doing business and maintaining minimum contacts with this

District.

        3.      Venue is proper in this District with respect to Malibu, pursuant to 28 U.S.C.

§ 1400(b), because Malibu resides in this District.

        4.      Venue is also proper in this District with respect to Malibu pursuant to 35 U.S.C.

§ 1400(b),because Malibu has committed acts of patent infringement in this District and has a

regular and established place of business in this District.

        5.      Venue is proper in this District with respect to Doe 1 pursuant to 28 U.S.C.

§ 1400(b), because upon information and belief Doe 1 resides in this District.

        6.      Venue is also proper in this District with respect to Doe 1 pursuant to 28 U.S.C.

§ 1400(b), because upon information and belief Doe 1 has committed acts of patent infringement

in this District and has a regular and established place of business in this District.

        7.      Venue is proper in this District with respect to each Defendant that is not a

domestic corporation pursuant to 28 U.S.C. § 1391(b), because upon information and belief at

least one Defendant resides in this District and all Defendants are residents of this State.

        8.      Venue is also proper in this District with respect to each Defendant that is not a

domestic corporation pursuant to 28 U.S.C. § 1391(b), because upon information and belief a

substantial part of the events giving rise to the causes of action against each such Defendant

occurred in this District.

                                             PARTIES

        9.      Plaintiff is a California corporation with a regular and established place of

business at 12856 Brookhurst Street, Garden Grove, California 92840.



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       10.     Plaintiff is in the business of designing, manufacturing, importing, and selling

salon spa chairs and related furniture, equipment, accessories, parts, and supplies, and has been

for approximately ten years.

       11.     Malibu is an entity of unknown type. Upon information and belief, Malibu is a

sole proprietorship owned by Doe 1, and doing business as “Malibu Nail Lounge” with a regular

and established place of business in this District at 1135 Grand Central Parkway, Suite 100,

Conroe, Texas 77304.

       12.     Upon information and belief, Doe 1 resides in this District, and owns and operates

the entity doing business as “Malibu Nail Lounge” having a regular and established place of

business in this District at 1135 Grand Central Parkway, Suite 100, Conroe, Texas 77304.

       13.     Upon information and belief, Does 2-10 reside in this District, and own, operate,

manage and/or perform services for the entity doing business as “Malibu Nail Lounge” having a

regular and established place of business in this District at 1135 Grand Central Parkway, Suite

100, Conroe, Texas 77304.

       14.     The true identities of Does 1-10 are currently unknown.

                                 GENERAL ALLEGATIONS

       15.     Upon information and belief, Malibu, Doe 1, and the remaining Doe Defendants

own and control the website content at https://malibunaillounge.com/ (“Malibu Website”).

       16.     On March 22, 2016, the ‘353 Patent, titled “PEDICURE BASIN WITH

OVERFLOW PROTECTION” was issued to Lan Van Ta, the sole named inventor.

       17.     Attached hereto as Exhibit 1 is a true and correct copy of the ‘353 Patent.

       18.     The ‘353 Patent is presumed valid pursuant to 35 U.S.C. § 282.



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        19.     On November 21, 2019, Lan Van Ta executed an assignment to Plaintiff of the

full and exclusive rights, title, and interest in and to the ‘353 Patent, including the right to sue for

past royalties and past infringement (hereafter “Assignment”).

        20.     The Assignment was recorded at the United States Patent and Trademark Office

on November 29, 2019 at Reel/Frame 051138/0457.

        21.     Plaintiff is currently the owner of the full and exclusive rights, title, and interest in

and to the ‘353 Patent, including the right to sue for past royalties and past infringement.

        22.     The ‘353 Patent describes generally a spa chair having an innovative pedicure

basin. The spa chair includes a seat for a patient, a main basin in front of the seat for containing

liquid and receiving a patient’s feet, the main basin having a peripheral rim wherein the

peripheral rim has a portion which is at a lowered height relative to the remainder of the rim so

that liquid can overflow the lower height portion when the liquid reaches a depth greater than the

lowered height portion. The spa chair also has a secondary basin configured to receive the liquid

overflowing the lower height portion of the main basin, and a liner covering the surface of the

main basin up to the peripheral rim.

        23.     The ‘353 Patent describes that such spa chairs are typically used for cosmetic

procedures such as manicures and pedicures.

        24.     Plaintiff has marked all of its own products covered by the ‘353 Patent in

accordance with 35 U.S.C. § 287.

        25.     Plaintiff has been and continues to be damaged by the acts of infringement of the

‘353 Patent alleged herein, in an amount to be proven at trial.

        26.     Plaintiff has been and continues to be irreparably harmed by the acts of

infringement of the ‘353 Patent alleged herein.

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          27.   Upon information and belief, the acts of infringement of the ‘353 Patent alleged

herein have been willful, because such infringement has been and is deliberate and intentional.

                       FIRST CAUSE OF ACTION AGAINST MALIBU
                        Direct Infringement of U.S. Patent No. 9,289,353

          28.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          29.   In violation of 35 U.S.C. § 271(a), Malibu has, without authority from Plaintiff,

used in the United States within this District, and continues to use in the United States within this

District, products (hereafter “Accused Products”) that include each and every limitation of at

least one claim of the ‘353 Patent.

          30.   The use and continued use of Accused Products by Malibu infringes at least

Claims 1, 2, 3 and 6 of the ‘353 Patent (hereafter “Currently Asserted Claims”).

          31.   The Accused Products include but are not limited to pedicure spas sold by T-Spa

MFG., LLC (hereafter “T-Spa”) and/or T-Spa Depot LLC (hereafter “T-Spa Depot”) under the

model name “KYEN,” and brand name “T-Spa” (hereafter “KYEN Accused Product”).

          32.   Attached hereto as Exhibit 2 is a copy of web pages from the website

https://tspallc.com/ (hereafter “T-Spa Website”) showing the KYEN Accused Product used, and

being used, by Malibu. Attached hereto as Exhibit 3 is a close-up view of the main basin of a

KYEN Accused Product taken as a still image from a video on the T-Spa Website. As shown in

Exhibits 2 and 3, the KYEN Accused Product is a spa chair for use by a spa patient in a pedicure

of the feet of the patient.

          33.   As show in Exhibits 2 and 3, the KYEN Accused Product includes: a seat

arranged for receiving the patient in a seating position with the feet presented forwardly of the


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seat; a main basing in front of the seat and arranged such that the feet of the patient sitting the

seat are received in the main basin; the main basin having a peripheral rim for containing liquid

in the main basin; the main basin has having a least a portion of the peripheral rim having a

lowered height portion relative to the remainder of the peripheral rim which allows liquid to

overflow the lowered height portion when the liquid reaches a depth greater than the lowered

height portion. The remainder of the peripheral rim which is not lowered is a main portion of the

peripheral rim.

       34.        Attached hereto as Exhibit 4 is a photograph of a portion of the KYEN Accused

Product showing the secondary basin communicated with the main basin over at least a portion

of the peripheral rim so as to collect overflow of liquid from the main basin that is directed

through the lowered portion of the peripheral rim towards the secondary basin. The secondary

basin has a drain hole for draining the overflow liquid.

       35.        Upon information and belief, Malibu purchased the Accused Products, including

the KYEN Accused Products, from T-Spa and/or T-Spa Depot within this District.

       36.        As shown in Exhibits 5-8, Malibu inserts liners into the main basin of the KYEN

Accused Products when using the KYEN Accused Products to provide pedicures and/or other

nail salon services to its customers.

       37.        Exhibits 5-8 show that the KYEN Accused Products have been installed at

Malibu’s place of business and that Malibu has used, and continues to use, the KYEN Accused

Products, including inserting disposable liners into the KYEN Accused Products (see, e.g.,

Exhibits 5-8), and providing pedicures and/or other nail salon services to its customers using the

KYEN Accused Products. Exhibit 8 is a photograph showing Malibu employees and/or

contractors using the KYEN Accused Products installed at Malibu to . Exhibit 8 shows the

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KYEN Accused Products being used with a disposable liner inserted into the main basin of the

spa chair.

                     SECOND CAUSE OF ACTION AGAINST MALIBU
                   Induced Patent Infringement of U.S. Patent No. 9,289,353

          38.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          39.   In violation of 35 U.S.C. § 271(b), Malibu, has, without authority from Plaintiff,

actively induced others (“Direct Infringers”) to infringe at least one claim of the ‘353 Patent.

          40.   The use of KYEN Accused Products in the United States by Direct Infringers

infringes at least the Currently Asserted Claims of the ‘353 Patent.

          41.   Upon information and belief, Malibu’s active inducement includes instructing its

employees to insert disposable liners into the main basin when using the KYEN Accused

Products to provide pedicures and/or other salon services to patrons (see Exhibit 8), knowing that

Direct Infringers, including its employees and patrons, would use the KYEN Accused Products

in an infringing manner.

          42.   Upon information and belief, Malibu’s active inducement includes using, and

making available for use, the KYEN Accused Products, knowing that Direct Infringers would

use the spas and liners, and Direct Infringers have used the KYEN Accused Products in a manner

which infringes at least the Currently Asserted Claims of the ‘353 Patent

          43.   Upon information and belief, Malibu actively encourages such infringement

knowing that the acts induced constitute patent infringement.




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                     THIRD CAUSE OF ACTION AGAINST MALIBU
                Contributory Patent Infringement of U.S. Patent No. 9,289,353

          44.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          45.   In violation of 35 U.S.C. § 271(c), Malibu has, without authority from Plaintiff,

contributorily infringed at least one claim of the ‘353 Patent.

          46.   Upon information and belief, Malibu uses, and makes available for use, in the

United States, pedicure spas containing each limitation of the Currently Asserted Claims except

for the “liner” (hereafter “Spas Without Liners”). This, in combination with the Direct Infringers

inserting liners into the Spas Without Liners and using such combination, constitutes

contributory infringement of at least the Currently Asserted Claims of the ‘353 Patent.

          47.   Malibu knows Spas Without Liners to be especially made or adapted for use in

infringement of the Currently Asserted Claims.

          48.   The Spas Without Liners are a component of the apparatus patented in the

Currently Asserted Claims of the ‘353 Patent.

          49.   The Spas Without Liners constitute a material part of the invention claimed in the

Currently Asserted Claims the ‘353 Patent, namely the entire claimed invention except the liner.

          50.   The use of Spas Without Liners, in combination with the use of liners, in the

United States by Direct Infringers, including Malibu and Malibu’s employees, agents and

patrons, infringes at least the Currently Asserted Claims of the ‘353 Patent.

          51.   Direct Infringers have used the KYEN Accused Products. Malibu actively

contributed to such infringement knowing that its contribution was a material part of the

infringement by the Direct Infringers, including its employees and patrons.


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                      FOURTH CAUSE OF ACTION AGAINST DOE 1
                       Direct Infringement of U.S. Patent No. 9,289,353

          52.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          53.   Upon information and belief, Doe 1 is the owner and operator of Malibu.

          54.   Upon information and belief, Doe 1 has participated, and continues to participate,

in the infringement of the ‘353 Patent by using, and continuing to use, Accused Products. Upon

information and belief, Doe 1 uses, and continues to use, the Accused Products in providing

pedicure services at the Malibu Nail Lounge.

          55.   In violation of 35 U.S.C. § 271(a), Doe 1 has, without authority from Plaintiff,

used, and continues to use in the United States, within this District, products that include each

and every limitation of at least one claim of the ‘353 Patent.

          56.   The use and continued use of Accused Products by Doe 1 infringes at least the

Currently Asserted Claims of the ‘353 Patent.

                       FIFTH CAUSE OF ACTION AGAINST DOE 1
                   Induced Patent Infringement of U.S. Patent No. 9,289,353

          57.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          58.   In violation of 35 U.S.C. § 271(b), Doe 1 has, without authority from Plaintiff,

actively induced others (“Direct Infringers”) to infringe at least one claim of the ‘353 Patent.

          59.   The use of KYEN Accused Products in the United States by Direct Infringers

infringes at least the Currently Asserted Claims of the ‘353 Patent.

          60.   Doe 1 has participated in, and continues to participate in, induced infringement of

the ‘353 Patent. Upon information and belief, Doe 1’s active inducement includes instructing

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Malibu’s employees to insert disposable liners into the main basin when using the KYEN

Accused Products to provide pedicures and/or other salon services to patrons (see Exhibits 5-8),

knowing that Direct Infringers, including Malibu’s employees and patrons, would use the KYEN

Accused Products .

          61.   Upon information and belief, Doe 1’s active inducement includes using, and

making available for use, the KYEN Accused Products, knowing that Direct Infringers would

use the spas and liners, and Direct Infringers have used the KYEN Accused Products .

          62.   Doe 1 actively encouraged such infringement knowing that the acts induced

constituted patent infringement.

                      SIXTH CAUSE OF ACTION AGAINST DOE 1
                Contributory Patent Infringement of U.S. Patent No. 9,289,353

          63.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          64.   In violation of 35 U.S.C. § 271(c), Doe 1 has, without authority from Plaintiff,

contributorily infringed at least one claim of the ‘353 Patent.

          65.   Doe 1 has participated in, and continues to participate in, contributory

infringement of the ‘353 patent.

          66.   Upon information and belief, Doe 1 uses, and makes available for use, in the

United States, Spas Without Liners.

          67.   Doe 1 knows Spas Without Liners to be especially made or adapted for use in

infringement of the Currently Asserted Claims.

          68.   The Spas Without Liners are a component of the apparatus patented in the

Currently Asserted Claims of the ‘353 Patent.


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          69.   The Spas Without Liners constitute a material part of the invention claimed in the

Currently Asserted Claims the ‘353 Patent, namely the entire claimed invention except the liner.

          70.   The use of Spas Without Liners, in combination with the use of liners, in the

United States by Direct Infringers, including Malibu and Malibu’s employees, agents and

patrons, infringes at least the Currently Asserted Claims of the ‘353 Patent. This, in combination

with the Direct Infringers inserting liners into the Spas Without Liners and using such

combination, constitutes contributory infringement of at least the Currently Asserted Claims of

the ‘353 Patent.

          71.   Direct Infringers have used the KYEN Accused Products. Doe 1 actively

contributed to such infringement knowing that its contribution was a material part of the

infringement by the Direct Infringers, including its employees and patrons.

                   SEVENTH CAUSE OF ACTION AGAINST DOES 2-10
                      Direct Infringement of U.S. Patent No. 9,289,353

          66.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          67.   Upon information and belief, Does 2-10 own, operate, manage and/or perform

services for Malibu.

          68.   Upon information and belief, Does 2-10 have participated, and continue to

participate, in the infringement of the ‘353 Patent by using, and continuing to use, Accused

Products. Upon information and belief, Does 2-10 use, and continue to use, the Accused

Products in providing pedicure services at the Malibu Nail Lounge.




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          69.   In violation of 35 U.S.C. § 271(a), Does 2-10 have, without authority from

Plaintiff, used, and continue to use in the United States, within this District, products that include

each and every limitation of at least one claim of the ‘353 Patent.

          72.   The use and continued use of Accused Products by Does 2-10 infringes at least

the Currently Asserted Claims of the ‘353 Patent.

                    EIGHTH CAUSE OF ACTION AGAINST DOES 2-10
                   Induced Patent Infringement of U.S. Patent No. 9,289,353

          73.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          74.   In violation of 35 U.S.C. § 271(b), Does 2-10 have, without authority from

Plaintiff, actively induced others (“Direct Infringers”) to infringe at least one claim of the ‘353

Patent.

          75.   The use of KYEN Accused Products in the United States by Direct Infringers

infringes at least the Currently Asserted Claims of the ‘353 Patent.

          76.   Does 2-10 have\s participated in, and continues to participate in, induced

infringement of the ‘353 Patent. Upon information and belief, Does 2-10’s active inducement

includes instructing Malibu’s employees to insert disposable liners into the main basin when

using the KYEN Accused Products to provide pedicures and/or other salon services to patrons

(see Exhibits 5-8), knowing that Direct Infringers, including Malibu’s employees and patrons,

would use the KYEN Accused Products .

          77.   Upon information and belief, Does 2-10’s active inducement includes using, and

making available for use, the KYEN Accused Products, knowing that Direct Infringers would

use the spas and liners, and Direct Infringers have used the KYEN Accused Products .


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          78.   Does 2-10 actively encouraged such infringement knowing that the acts induced

constituted patent infringement.

                    NINTH CAUSE OF ACTION AGAINST DOES 2-10
                Contributory Patent Infringement of U.S. Patent No. 9,289,353

          79.   Plaintiff incorporates each of the foregoing allegations, and the allegations which

follow.

          80.   In violation of 35 U.S.C. § 271(c), Does 2-10 each have, without authority from

Plaintiff, contributorily infringed at least one claim of the ‘353 Patent.

          81.   Does 2-10 each have participated in, and continue to participate in, contributory

infringement of the ‘353 patent.

          82.   Upon information and belief, Does 2-10 each use, and make available for use, in

the United States, Spas Without Liners.

          83.   Does 2-10 each know Spas Without Liners to be especially made or adapted for

use in infringement of the Currently Asserted Claims.

          84.   The Spas Without Liners are a component of the apparatus patented in the

Currently Asserted Claims of the ‘353 Patent.

          85.   The Spas Without Liners constitute a material part of the invention claimed in the

Currently Asserted Claims the ‘353 Patent, namely the entire claimed invention except the liner.

          86.   The use of Spas Without Liners, in combination with the use of liners, in the

United States by Direct Infringers, including Malibu and Malibu’s employees, agents and

patrons, infringes at least the Currently Asserted Claims of the ‘353 Patent. This, in combination

with the Direct Infringers inserting liners into the Spas Without Liners and using such




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combination, constitutes contributory infringement of at least the Currently Asserted Claims of

the ‘353 Patent.

       87.     Direct Infringers have used the KYEN Accused Products. Doe 1 actively

contributed to such infringement knowing that its contribution was a material part of the

infringement by the Direct Infringers, including its employees and patrons.

                                           **********
       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       A.      Pursuant to 35 U.S.C. § 283, the Court enjoin Defendants, their subsidiaries,

divisions, agents, servants, and employees, and those persons in concert or active participation

with any of them, from further acts of infringement of the '353 Patent.

       B.      Pursuant to 35 U.S.C. § 284, Plaintiff be awarded damages, interest, and costs,

including treble damages.

       C.      Pursuant to 35 U.S.C. § 285, the case be declared exceptional, and Plaintiff be

awarded reasonable attorney fees.

       D.      Plaintiff be awarded pre-judgment and post-judgment interest according to law.

       E.      Plaintiff be awarded such other relief as this Court deems appropriate.

                                               **********




       Dated: February 13, 2024

                                             Respectfully Submitted,

                                             /s/ Michael S. McCoy
                                             Michael S. McCoy
                                             Texas Bar No. 24013129
                                             Southern District of Texas No. 24498
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                                         JURY DEMAND

        Pursuant to F.R.Civ.P. Rule 38(b), Plaintiff Contego Spa Designs, Inc., demands a jury

trial on all issues triable to a jury.

        Dated: February 13, 2024

                                             Respectfully Submitted,

                                             /s/ Michael S. McCoy
                                             Michael S. McCoy
                                             Texas Bar No. 24013129
                                             Southern District of Texas No. 24498
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                                             Alberto Q. Amatong, Jr.
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                                ATTORNEYS FOR PLAINTIFF
                                CONTEGO SPA DESIGNS, INC.




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